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                           IN THE UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF DELAWARE

In re:                                               ) Chapter 11

QUIKSILVER,INC., et al.,                             )    Case No. 15-11880(BLS)

                       Debtors.l                     )
                                                          Jointly Administered



                                     CERTIFICATE OF SERVICE

                   I, Laura Davis Jones, hereby certify that on the ~~ day of February, 2016, I

caused a copy of the following documents to he served on the individuals on the attached service

list in the manner indicated:

                   Notice ofFiling First Quarterly ApplicationfoN Compensation and
                   ReirnbuNsernent ofExpenses ofPccchulski Stang Ziehl &Jones LLP, as Co-
                   Counsel to the Debtors and DebtoNs In Possession,for the PeriodfNom
                   September 9, 2015 through Decencbe~ 31, 201S;

                   First Quarterly Applicationfog Coynpensation and Reimbursement of
                   Expenses ofPachzrlski Stang Ziehl &Jones LLP, as Co-Counsel to the
                   DebtoNs and DebtoNs In Possession,for• the PeriodfNom September 9, 2015
                   thNough DecembeN 31, 201S; anc~

                  [Proposed) Order Granting FzNst Quarterly Applicationfog Compensation
                  and Reimbursement ofExpenses ofPachulski Stang Zzehl &Jones LLP, as
                  Co-Counsel to the Debtors and DebtoNs In Possession,for the Pef°iodfrom
                  SepteYnbef° 9, 2015 thNough DecembeN 31, 2015.




                                                       ura       s Tones(DE far No. 2436)


 i The Debtors and the last four dig~of their respective taxpayer identification numbers are as follows:
Quiksilver, Inc.(9426), QS Wholesale, Inc.(8795), DC Direct, Inc.(8364), DC Shoes, Inc.(0965), Fidra, Inc.
(8945), Hawk Designs, Inc.(1121), Mt. Waimea, Inc.(5846), Q.S. Optics, Inc.(2493), QS Retail, Inc.(0505),
Quiksilver Entertainment, lnc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors'corporate
headquarters is 5600 Argosy Circle, Huntington Beach, California 926 39.


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